        Case 1:25-cv-00804-BAH              Document 39    Filed 05/19/25      Page 1 of 4




                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

 UNITED STATES INSTITUTE OF PEACE,
 et al.,

                              Plaintiffs,                  Civil Action No. 25-cv-804 (BAH)

                              v.                           Judge Beryl A. Howell

 KENNETH JACKSON, in his official
 capacity, et al.,

                              Defendants.




                                               ORDER

        Upon consideration of plaintiffs’ motion for summary judgment, ECF No. 22,

defendants’ cross motion for summary judgment, ECF No. 32, the legal memoranda, exhibits

and declarations submitted in support and in opposition, and the entire record herein, for the

reasons set forth in the accompanying Memorandum Opinion, it is hereby—

        ORDERED that plaintiffs’ motion for summary judgment, ECF No. 22, is GRANTED;

it is further

        ORDERED that defendants’ cross-motion for summary judgment, ECF No. 32, is

DENIED; it is further

        ORDERED that plaintiffs are granted judgment in their favor on Counts One, Two,

Three, Four, and Six of the Amended Complaint, ECF No. 12; it is further

        DECLARED that the purported removal of members of the Board of Directors of the

United States Institute of Peace (“USIP”) duly appointed under 22 U.S.C. § 4605(b)(4), was

unlawful, in violation of 22 U.S.C. § 4605(f), ultra vires, and therefore null, void, and without

legal effect; it is further
                                                     1
          Case 1:25-cv-00804-BAH         Document 39        Filed 05/19/25      Page 2 of 4




          DECLARED that plaintiff Board members who were purportedly terminated remain

members of the USIP Board and may be removed by the United States President only pursuant to

the terms of 22 U.S.C. § 4605(f); it is further

          DECLARED that the purported removal of Ambassador George Moose as acting

president of the Institute by a resolution adopted by less than a majority of the duly appointed

Board of Directors of USIP was invalid, and therefore null, void, and without legal effect; it is

further

          DECLARED that the purported appointments of Kenneth Jackson and Nate Cavanaugh

to the positions of president of USIP pursuant to resolutions adopted by less than a majority of

the duly appointed Board of Directors of USIP were invalid and therefore null, void, and without

legal effect; it is further

          DECLARED that Amb. Moose therefore remains president of USIP and may be

removed only by a duly constituted Board of Directors, under 22 U.S.C. § 4606; it is further

          DECLARED that all actions taken or authorized by Kenneth Jackson or Nate Cavanaugh

as acting presidents of USIP were invalid and therefore null, void, and without legal effect; it is

further

          DECLARED that, given the illegitimate appointment of Nate Cavanaugh to the position

as USIP president, the actions and documents by which he purportedly transferred USIP’s

headquarters, located at 2301 Constitution Avenue, NW, Washington, DC 20037, to the General

Services Administration were invalid and therefore null, void, and without legal effect; it is

further

          DECLARED that the transfer of USIP’s other financial or physical assets to the General

Services Administration was likewise invalid, null void, and without legal effect; it is further



                                                     2
        Case 1:25-cv-00804-BAH             Document 39        Filed 05/19/25      Page 3 of 4




        DECLARED that the resolution adopted by two ex officio Directors of USIP’s Board

purportedly appointing Adam Amar as president of the Endowment of the USIP Fund and

authorizing and instructing him to transfer any and all of the Endowment’s assets to USIP was

invalid, null, void, and without any legal effect; it is further

        ORDERED that plaintiff Board members duly appointed under 22 U.S.C. § 2605(b)(4)

shall continue to serve in accordance with § 4605(e) and may not be removed or treated in any

way as having been removed, or otherwise obstructed from carrying out their duties, except in

accordance with § 4605(f); it is further

        ORDERED that USIP Acting President Amb. Moose shall continue to serve in

accordance with § 4606(a) and may not be removed or treated in any way as having been

removed, or otherwise obstructed from carrying out his duties, except in accordance with

§§ 4601-11; it is further

        ORDERED that defendants, except for the ex officio members of USIP’s Board of

Directors to the extent their official positions allow, are ENJOINED from further trespass

against the real and personal property belonging to the Institute and its employees, contractors,

agents, and other representatives; it is further

        ORDERED that defendants, except for the ex officio members of USIP’s Board of

Directors to the extent their official positions allow, are ENJOINED from maintaining,

retaining, gaining, or exercising any access or control over the Institute’s offices, facilities,

computer systems, or any other records, files, or resources, and from acting or purporting to act

in the name of Institute, and from using the Institute’s name, emblem, badge, seal and any other

mark of recognition of the Institute; it is further




                                                       3
        Case 1:25-cv-00804-BAH           Document 39         Filed 05/19/25   Page 4 of 4




       ORDERED that the defendants who are ex officio members of USIP’s Board of

Directors may not act unilaterally or in any combination of the three of them together, without

additional consent constituting a majority of members of the duly constituted USIP Board of

Directors, to transfer any of USIP’s assets; and it is further

       ORDERED that the Clerk of the Court is directed to close this case.

       SO ORDERED.

       Date: May 19, 2025

       This is a final and appealable order.

                                                       __________________________
                                                       BERYL A. HOWELL
                                                       United States District Judge




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